          Case 1:18-cv-02015-RC Document 20 Filed 01/29/19 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               )
 STELLAR IT SOLUTIONS, INC., et al.            )
                                               )
               Plaintiffs,                     )
                                               )
 v.                                            )      Civil Action No. 1:18-cv-2015 (RC)
                                               )
 U.S. CITIZENSHIP                              )
 AND IMMIGRATION SERVICES,                     )
                                               )
               Defendant.                      )
                                               )

                       DEFENDANTS’ NOTICE TO THE COURT
                   REGARDING END OF LAPSE IN APPROPRIATIONS

       The lapse in appropriations that began at midnight on December 21, 2018 ended on

January 25, 2019 with a continuing resolution funding the Department of Justice through

February 15, 2019. Accordingly, Department of Justice attorneys officially returned to work on

Monday, January 28, 2019 and Defendants request the opportunity to meet and confer by no later

than Friday, February 1, with Plaintiffs’ counsel for the purpose of submitting to the Court a

proposed schedule on Defendants’ intended filing of a Motion to Dismiss that takes into account

the duration of the lapse in appropriations.



Dated: January 29, 2019                            Respectfully submitted,

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   WILLIAM C. PEACHEY
                                                   Director

                                                   GLENN M. GIRDHARRY
                                                   Assistant Director
Case 1:18-cv-02015-RC Document 20 Filed 01/29/19 Page 2 of 3




                                 /s/ Joshua S. Press
                                 JOSHUA S. PRESS
                                 Trial Attorney
                                 United States Department of Justice
                                 Civil Division
                                 Office of Immigration Litigation
                                 District Court Section
                                 P.O. Box 868, Ben Franklin Station
                                 Washington, DC 20044
                                 Tel: (202) 305-0106
                                 Fax: (202) 305-7000

                                 Attorneys for Defendants




                             2
          Case 1:18-cv-02015-RC Document 20 Filed 01/29/19 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2019, I electronically filed the foregoing

DEFENDANTS’ NOTICE TO THE COURT REGARDING END OF LAPSE IN

APPROPRIATIONS with the Clerk of the Court by using the CM/ECF system, which will

provide electronic notice and an electronic link to this document to all attorneys of record.

DATED: January 29, 2019

                                  By: /s/ Joshua S. Press
                                      JOSHUA S. PRESS
                                      Trial Attorney
                                      United States Department of Justice
                                      Civil Division




                                                 3
